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Fill in this information to identify your case:

Debtor 1 \) WRM Df\\} ‘S

First Name Midd|e Name Last Name

   

    
       
      
 

Debtor 2
(SpDLlSe, if iling) Firs\ Name Middle Name Last Name

 

     
  

United States Bankruptcy Court for the: Disirict Of

  
  

 

D check if this is an
amended filing

Case number
(if known)

 

 
   
 

 

Official Form 108
Statement of intention for individuals Filing Under Chapter 7 12/15

 

lf you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

if two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possib|e. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

must Your Creditors Who Have Secured Claims

1_ For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Officia| Form 1060), fill in the
information below.

 

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor’s JSurrender the ro e . No
name: Ni\iii)ti§ii>l? iiioRiii¢\€\€ U~D '° p "Y
m Retain the property and redeem it. l;l Yes

Description of

property
securing debt:

n Retain the property and [expiain]:
Toi))iiii)i`ii@ __

Creditor’s U Surrender the property. n NO
name:

cl Retain the property and enter into a
Reaermatio/i Agreement.

 

 

m Retain the property and redeem it. \;l Yes
Description of
property

securing debt:

\:l Retain the property and enter into a
Reaffirmat/'on Agreement.

Cl Retain the property and [expiain]:

 

 

CrediiOl"S n Surrender the property. n NO
name:

|;l Retain the property and redeem it. n Yes
Description of
property
securing debt

n Retain the property and enter into a
Reaf)irmation Agreement.

i:l Retain the property and [expiain]:

 

 

 

CredifOF`S n Surrender the property. n NO
name:
_ _ n Retain the property and redeem it. L_.l Yes
E:):;r:?;'°n of El Retain the property and enter into a
Reafrirmation Agreement.

securing debt:
n Retain the property and [expiain]:

 

 

 

 

Official Form 108 Statement of intention for individuals Fi|ing Under Chapter 7 page 1

 

 

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Debwr 1 MM B¥Rm Wl$ Case number (lf'

 

First Nlme Middle Name Lut Nlme

m Llst Your Unexplred Pol'sonal Properl:y Leases

 

 

 

 

 

 

 

 

 

 

 

 

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexle Leases (Ofticia| Form 1066),
till in the information below. Do not list real estate ieases. Unexplred leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
Describe your unexpired personal property leases Wlll the tease be assumed?
Lessor's name: |'_`| No
Description of leased cl Yes
property:
Lessor‘s name: n N°
Description of leased n Yes
property:
Lessor‘s name: n N°
Description of leased l;l Yes
property:
Lessor‘s name: |___| N°
L:l Yes
Description of leased
property:
Lessor‘s name: L_.l No
m Yes
Description of leased
property:
Lessor‘s name: [:| No
_ _ l:l Yes
Descnption of leased
property:
Lessor‘s name: Cl No
_ _ L_.l Yes
Descnption of leased
property:

 

 

 

 

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

xr@@p x

 

Signature of Debtor 1 Signature of Debtor 2
Date 01 10 20 q Date
MM/ DD / YYYY MM/ DD l YYYV

Official Form 108 Statement of intention for individuals Fiiing Under Chapter 7 page 2

 

 

 

